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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NORTH DAKOTA
                                      EASTERN DIVISION

United States of America,                      )
                                               )
                       Plaintiff,              )       ORDER ADOPTING REPORT AND
                                               )       RECOMENDATION
       vs.                                     )
                                               )       Case No. 3:22-cr-5
Nicholas James Morgan-Derosier,                )
                                               )
                       Defendant.              )


       Before the Court is a Report and Recommendation filed by United States Magistrate Judge Alice

R. Senechal. Doc. No. 115. A two-day evidentiary hearing on a motion to suppress (Doc. No. 69) was

held on May 3-4, 2023. Judge Senechal recommends denying Defendant Nicholas James Morgan-

Derosier’s motion to suppress. Doc. No. 115. The parties were given until July 6, 2023, to file objections

to the Report and Recommendation. Id. That deadline was then extended to July 12, 2023. Doc. No. 118.

On July 12, 2023, the Government filed a response, asking the Court to adopt the Report and

Recommendation. Doc. No. 123. That same day, Morgan-Derosier filed an objection to the Report and

Recommendation. Doc. No. 124.

       The Court has reviewed the Report and Recommendation, the objections filed by Morgan-

Derosier, the response filed by the Government, and the record as a whole, and finds the Report and

Recommendation to be persuasive. Accordingly, the Court ADOPTS the Report and Recommendation

(Doc. No. 115) in its entirety. Morgan-Derosier’s motion to suppress (Doc. No. 69) is DENIED.

       IT IS SO ORDERED.

       Dated this 9th day of August, 2023.

                                                       /s/ Peter D. Welte
                                                       Peter D. Welte, Chief Judge
                                                       United States District Court
